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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                   CASE NO.: 23-cv-22352-RNS

  THE SMILEY COMPANY SPRL,

         Plaintiff,
  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

         Defendants.
                                              /

       NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS ONLY

         PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by undersigned

  counsel, Plaintiff hereby voluntarily dismisses without prejudice all claims against the following

  Defendants:

         retrostyler (Defendant No. 252 on Schedule “A” to the Complaint),

  Date: August 11, 2023                           Respectfully submitted by,

                                                  Javier Sobrado
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